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                                                PRIVILEGED AND CONFIDENTIAL
                                              DRAFT ATTORNEY WORK PRODUCT
                            UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MASSACHUSETTS

 AMERICAN WATERWAYS                                )
 OPERATORS,                                        )
                                                   )
           Plaintiff,                              )
                                                   ) Case No. 18-12070-DJC
 v.                                                )
                                                   )
 UNITED STATES COAST GUARD,                        )
                                                   )
           Defendant.                              )

         LOCAL RULE 56.1 STATEMENT OF MATERIAL FACTS IN SUPPORT OF
                PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT

          Plaintiff American Waterways Operators (“AWO”) hereby submits this Statement of

Material Facts in support of its Memorandum of Law and Motion for Summary Judgment. As set

forth below and in the accompanying Exhibits and Administrative Record, there is no genuine

dispute as to any material fact stated herein, and AWO is entitled to summary judgment on the

Administrative Record (“AR” or “Record”). Fed. R. Civ. P. 56(a); In re Smith & Wesson

Holding Corp., 669 F.3d 68, 73 (1st Cir. 2012). An issue is “genuine” if a reasonable jury could

return a verdict for the non-moving party, Anderson v. Liberty, 477 U.S. 242, 248 (1986). A fact

is “material” when it has the “potential to affect the outcome of the suit under applicable law.”

Nereida-Gonzalez v. Tirado-Delgado, 990 F.2d 701, 703 (1st Cir. 1993).

  I.      STATEMENT OF MATERIAL FACTS OF RECORD

          The following are the pertinent material facts of record as to which there is no genuine

issue to be tried:

1. Plaintiff, AWO, is the national trade association of the U.S. tugboat, towboat, and barge

       industry. Members of AWO include owners or operators of tugboats and tank vessels that

       operate in the waters of Massachusetts and are, therefore, subject to the Massachusetts laws
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   at the center of this and the related cases. AWO members are also subject to federal marine

   safety and environmental protection regulations promulgated and administered by the Coast

   Guard.

2. AWO’s mission is to promote the long term economic soundness of the tugboat, towboat,

   and barge industry, and to enhance the industry’s ability to provide safe, efficient, and

   environmentally responsible transportation, through advocacy, public information, and the

   establishment of industry safety standards. AWO acts as a principal advocate for the industry

   in Washington, DC before federal policymakers and federal officials. Case No. 05-10112-

   JLT, Dkt. No. 6, Ex. 1, Decl. of Thomas Allegretti, at 1-2 (Feb. 23, 2005).

3. Defendant in this action is the United States Coast Guard (“Coast Guard” or “Agency”).

4. Defendant Coast Guard is a military and maritime service within the United States

   Department of Homeland Security, an executive department of the United States, is one of

   the five armed forces of the United States, and is an agency of the United States. 14 U.S.C. §

   1; see Homeland Security Act of 2002, Pub. L. No. 107-296 § 101, 116 Stat. 2135, 2142

   (2002).

5. In August 2004, the Governor of the Commonwealth of Massachusetts signed into law “An

   Act Relative to Oil Spill Prevention and Response in Buzzards Bay and Other Harbors and

   Bays of the Commonwealth,” 2004 Mass. Acts ch. 251, amended by 2004 Mass. Acts ch.

   457 § 1 (“MOSPA”).




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6. MOSPA purported to regulate tugboat and tank vessel operations in Massachusetts state

   waters. In particular, MOSPA:

       A. Required coastwise vessels carrying oil, hazardous material, or other hazardous waste

          to “take on and employ” a Massachusetts-licensed pilot when traveling through

          certain Massachusetts waters;

       B. Established navigation watch requirements for all towed vessels transiting Buzzards

          Bay and carrying 6,000 or more barrels of oil, manning requirements on any vessel

          that is towing a tank barge carrying 6,000 or more barrels of oil in Buzzards Bay, and

          crew requirements for tank barges;

       C. Prohibited vessels not in compliance with federal design standards for double hulls

          from docking, loading, or unloading in Massachusetts;

       D. Set forth mandatory drug and alcohol testing policies and procedures;

       E. Required all tank barges carrying 6,000 or more barrels of oil to have a tugboat escort

          when traveling in Massachusetts waters deemed “areas of special interest;”

       F. Mandated that tank vessels follow certain vessel routes through Massachusetts

          waters; and

       G. Required all tank vessels traveling in Massachusetts waters to present a certificate of

          financial assurance to the Massachusetts Department of Environmental Protection of

          at least one billion dollars, which amount could be lowered based on certain

          enumerated criteria. Id.

7. In 2008, the Commonwealth enacted additional requirements for tank vessel operations. “An

   Act Further Protecting Buzzards Bay,” 2008 Mass. Acts. Ch. 268 (amending Mass. Gen.

   Laws ch. 21L, § 4, ch. 21M, §§ 1, 8, and adding ch. 21M, § 9).



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8. The 2008 Act imposed a scheme of notification, pilotage, and tug escort rules. All tank

   vessels carrying 6,000 or more barrels of oil in Buzzards Bay were:

       A. required to have a tug escort, if not already accompanied, and

       B. subject to “triple the fines” that normally apply in the event of an oil spill if a vessel

           had (a) “failed to provide [24-hour] notice” to the state prior to operating in Buzzards

           Bay; or had (b) “failed to request a state pilot” to board prior to entering Buzzards

           Bay. 2008 Mass. Acts. Ch. 268.

9. The 2008 Act was amended in September of 2009 (“2009 Amendments”) by the General

   Court of Massachusetts to make both stylistic changes and substantive revisions to the Act.

   “An Act Preventing Oil Spills in Buzzards Bay,” 2009 Mass. Acts ch. 101 (amending Mass.

   Gen. Laws ch. 21L, §§ 1 and 4, ch. 21M, §§ 1 and 9) (forming the “2009 Act”).

                            PRIOR LITIGATION OVER MOSPA

10. On January 18, 2005, the United States filed suit against the Commonwealth in this Court,

   seeking to declare invalid and to enjoin permanently enforcement of MOSPA. United States

   v. Massachusetts, Civ. A. No. 1:05-cv-10112-DPW (D. Mass.), Dkt. No. 1, Complaint (Jan.

   18, 2005).

11. The United States alleged, among other things, that certain provisions of MOSPA unlawfully

   assert Commonwealth authority over objects and subject matters of marine safety and

   environmental protection committed to the sole authority of the United States, and that such

   assertions of state level authority are expressly forbidden by federal law, conflict with federal

   law, or otherwise impede the accomplishment and execution of the full purposes and

   objectives of federal law. Id. at ¶¶ 33-37.




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12. AWO is one of three intervenor-plaintiffs in the 2005 United States v. Massachusetts

   litigation. Id. at Dkt. No. 6, Motion to Intervene by AWO, et al. (Mar. 8, 2005).

13. On July 24, 2006, the District Court granted the United States’ and the intervenor-plaintiffs’

   motions for judgment on the pleadings, finding that the seven challenged provisions of

   MOSPA “are preempted, invalid, and unconstitutional under the Supremacy Clause of the

   United States Constitution[,]” and “permanently enjoined” the Commonwealth from

   enforcing the challenged provisions of the Act. United States v. Massachusetts, 440 F. Supp.

   2d 24 (D. Mass. 2006).

14. Among other things, the District Court held that sections of MOSPA were preempted by

   federal law and unconstitutional under the Supremacy Clause of the United States

   Constitution. Id. at 35, 48.

15. The Commonwealth appealed the District Court’s invalidation of three of MOSPA’s seven

   challenged provisions. United States v. Massachusetts, 493 F.3d 1 (1st Cir. 2007).

16. On appeal, the First Circuit concluded that further development of the record should be

   undertaken on whether the Coast Guard had adequately expressed preemptive intent in

   promulgating the federal regulations alleged by the United States and plaintiff-intervenors to

   supersede or displace state regulation. Id. at 13.

17. The 2007 First Circuit decision vacated the District Court’s order as to the three provisions at

   issue in the Commonwealth’s appeal and remanded the issues to the District Court for further

   record development and argument. Id. at 4, 25.

18. On remand, the District Court once again considered the constitutionality of MOSPA’s

   manning regulations for tank vessels and tugboat escort requirements. During the pendency

   of the First Circuit’s appellate review, the Coast Guard had modified the controlling federal



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   First District Regulated Navigation Area (“RNA”) regulations, amending them in various

   aspects and adding more definitive statements of preemptive intent. See Final Rule:

   Regulated Navigation Area; Buzzards Bay, MA; Navigable Waterways Within the First

   Coast Guard District, 72 Fed. Reg. 50,052 (Aug. 30, 2007) (“2007 RNA”).

19. The 2007 RNA expressly stated that it preempted the remaining MOSPA provisions at issue

   and established revised tug escort and manning provisions with respect to Buzzards Bay. 72

   Fed. Reg. 50,056-057 (Aug. 30, 2007).

20. On March 31, 2010, the District Court again entered judgment in favor of the United States

   and plaintiff-intervenors, permanently enjoining (once again) MOSPA’s manning regulations

   for tank vessels and tugboat escort requirements. United States v. Massachusetts, 724 F.

   Supp. 2d 170 (D. Mass. 2010) (adopting the report and recommendation of Magistrate Judge

   Sorokin).

21. The District Court found that the Coast Guard’s 2007 RNA expressly preempted the MOSPA

   provisions at issue, and that the MOSPA provisions were conflict-preempted because they

   “stand as an obstacle to the accomplishment and execution of the full purposes and objectives

   of Congress.” Id. at 183-85.

22. The Commonwealth and supporting intervenors appealed the District Court’s second

   decision invalidating MOSPA to the First Circuit. Civ. A. No. 1:05-cv-10112-DPW (D.

   Mass.), Dkt. No. 172, Notice of Appeal (May 27, 2010).

23. On appeal, the First Circuit did not address the constitutional issues that were before the

   District Court. “We take no view of the overarching preemption issue, the applicability vel

   non of any other extraordinary circumstances exception, the APA issue, or any of the parties’




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   other contentions.” See United States v. Coal. for Buzzards Bay, 644 F.3d 26, 39 (1st. Cir.

   2011).

24. The First Circuit instead focused on the issue of the Agency’s compliance with the National

   Environmental Policy Act (“NEPA”), 42 U.S.C. §§ 4231-4347.

25. The Court of Appeals stated:

       What we have said to this point dictates what must be done. The error here was
       one of function, not merely of form. The administrative record does not show that
       the Coast Guard ever analyzed, or even adequately studied, the environmental
       impact of its proposed action. . . . We need go no further. Where, as here, an
       agency has failed to satisfy its obligations under NEPA . . ., the appropriate
       remedy is to remand to the agency for performance of those obligations.

Id. at 38-39.

26. The First Circuit ordered vacatur of the District Court’s injunction and remanded the matter

   to the Agency for the performance of a NEPA analysis. See id.

27. Following the entry of the First Circuit’s decision, on August 18, 2011, the parties in United

   States v. Massachusetts filed a Joint Status Report with the District Court requesting that the

   District Court stay and administratively close the case pending the Agency’s remand

   activities. Civ. A. No. 1:05-cv-10112-DPW (D. Mass.), Dkt. No. 186, Status Report (Aug.

   18, 2011).

28. In that report to the District Court, the Coast Guard indicated that it already had initiated

   action to contract for the required NEPA assessment and analysis. Id. at 2.

29. Because the fact patterns and legal arguments in the later-filed AWO v. Patrick substantially

   overlapped with the issues raised in United States v. Massachusetts, the parties in AWO v.

   Patrick similarly proposed to the District Court that AWO v. Patrick be stayed and

   administratively closed during the duration of the remand in United States v. Massachusetts.




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   AWO v. Patrick, Civ. A. No. 1:10-cv-10584-DPW (D. Mass), Dkt. No. 50, Order of Stay and

   Administrative Closing (Aug. 19, 2011).

30. On August 19, 2011, the District Court entered its order remanding the matter to the Coast

   Guard for further proceedings. United States v. Massachusetts, Civ. A. No. 1:05-cv-10112-

   DPW (D. Mass.), Dkt. No. 187, Order of Remand, Stay and Administrative Closing (Aug.

   19, 2011). The First Circuit issued the order to remand because the Coast Guard “failed to

   satisfy its obligations under the NEPA and its error is not demonstrably harmless.” Coal. for

   Buzzards Bay, 644 F.3d at 39.

31. The District Court entered a similar order in AWO v. Patrick, Civ. A. No. 1:10-cv-10584-

   DPW (D. Mass.), Dkt. No. 50, Order of Stay & Admin. Closing (Aug. 19, 2011). The District

   Court administratively closed the cases without prejudice to a party moving to restore the

   case(s) to the active docket. Id.

                    COAST GUARD ACTIONS SINCE 2011 REMAND

32. Approximately a year after the Court of Appeals’ remand order, in August 2012, the Coast

   Guard released a Notice of a draft Environmental Assessment (“Draft EA”) that described

   the “reasonably foreseeable environmental impacts and socioeconomic impacts” for

   implementing an RNA in Buzzard’s Bay. AR at 0005-0100.

33. The Agency received approximately 32 comments in response by the September 4, 2012

   comment deadline. AR at 0235-1008.

34. The Draft EA concluded that “all of the action alternatives would reduce the probability of an

   accident occurring in Buzzards Bay that could result in the release of oil.” AR at 0017. It

   found, however, that “Alternative 3a, the 2007 Final Rule, would cause the least adverse

   environmental impact while providing substantial risk reduction.” Id.



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35. Alternative 3a, the option favored by the Coast Guard, required (1) a federally licensed pilot,

   not a member of the crew, on each vessel towing a single hull tank barge transporting 5,000

   or more barrels of oil or hazardous material through Buzzards Bay and the Cape Cod Canal;

   (2) a tugboat escort for all single hull tank barges transporting 5,000 or more barrels of oil or

   hazardous material through Buzzards Bay and the Cape Cod Canal; and (3) a Vessel

   Movement Reporting System, which provides a system for a ship to communicate its voyage

   plans and allows monitoring of the ship’s compliance with those plans. AR at 0031; for

   description of Vessel Movement Reporting System, see AR at 1769.

36. Alternative 3a was the same as the 2007 Final Rule — it did not incorporate the protections

   provided for in Section 4 (enhanced personnel requirements for single hull barges and their

   towing vessels transporting 6,000 or more barrels of oil through Buzzards Bay and the Cape

   Cod Canal) and Section 6 (tugboat escort for both single and double hull barges transporting

   6,000 or more barrels of oil through Buzzards Bay and the Cape Cod Canal) of MOSPA. AR

   at 0031.

37. In addition to the Notice of the Draft EA, the Coast Guard and the Massachusetts Department

   of Environmental Protection contracted for a “Buzzards Bay Risk Assessment.” AR at 1009-

   1221. That study was released on November 20, 2012 and revised on January 22, 2013. AR

   at 1009.

38. The Risk Analysis discusses the potential environmental and socioeconomic impacts of five

   proposed alternatives and details the deleterious effects of oil spills in Buzzards Bay. See AR

   at 1020-21, 1033, 1076-1096. The Risk Assessment was peer-reviewed by members of the

   National Academy of Sciences, the National Academy of Engineering, and the Institute of

   Medicine. AR at 1126-27.



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39. The analysis concluded that the most important mitigation efforts to reduce the likelihood of

   an oil spill were (1) the requirement for an independent pilot, (2) the requirement for double-

   hull barges, (3) the availability of escort tugs, and (4) the operation of a Vessel Movement

   Reporting System or a Vessel Traffic Management System. See AR at 1020-21.

40. The Risk Assessment stated that, “Buzzards Bay is an RNA with federal regulations issued

   by the USCG establishing recommended routes to be taken through Buzzards Bay, requiring

   participation in a VMRS, and requiring single-hull tank barges carrying 5,000 barrels or

   more of oil or other hazardous materials to be accompanied by an escort tug and to be under

   the direction of a federally-licensed first class pilot who is not a member of the crew.” AR at

   1041.

41. In addition to the NEPA analysis, the Agency also held a “Conditional Escort Tug

   Workgroup Meeting” related to the RNA rulemaking on August 14, 2013. AR at 1730-35. At

   that meeting, Edward LeBlanc, from the Coast Guard’s Southeastern New England Sector,

   stated “USCG feels that requiring tug escorts for all double-hulled barges may be

   unnecessary because of other protection measures in place, including federal pilots.” AR at

   1731. Richard Packard from Massachusetts’ Department of Environmental Protection, stated

   that “industry has nevertheless complied with the state rule.” Id. Participants stated that

   “additional layers of complexity raise the difficulty of monitoring and enforcement.” AR at

   1732. There was no AWO representative present at this meeting. See AR at 1735.

42. On February 3, 2014, the Coast Guard’s responsible official, Commander Daniel B. Abel,

   signed a Finding of No Significant Impact (“FONSI”), which indicated that the 2007 Rule

   “would produce the greatest reduction in the risk of a release of hazardous cargo to Buzzards

   Bay.” AR at 0102-03.



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43. The Agency prepared a Final EA, dated December 2013, and published public notice of the

   Finding of No Significant Impact based on the Final EA on February 26, 2014. AR at 0232-

   34, 79 Fed. Reg. 10,818; see AR at 0101-0231.

44. In the final EA, the Coast Guard noted that its current non-mandatory, suggested routes are

   used by “most if not all tank barges … voluntarily.” AR at 0149. “By not mandating their

   use, the U.S. Coast Guard affords commercial vessel masters the freedom to abandon the

   recommended routes if necessary to avoid the risk of collision or grounding.” Id. Using a

   mandated route “would not have a beneficial impact due to the potential to put mariners at

   higher risk by requiring them to follow a set route when conditions warrant an alternative

   approach.” AR at 0167. Mandating routes may have “minor beneficial impact … as long as

   mariners are permitted to abandon the route to avoid navigational hazards.” AR at 0168.

45. “An incident in Buzzards Bay or the Cape Cod Canal that included the release of oil or a

   hazardous substance could affect both public health and safety.” AR at 0175-76. “Specific

   human health reactions [to a hazardous material spill] are dependent on the material that is

   released and the extent and type of contact.” AR at 0176. For example, a fuel oil spill may

   cause headaches, nausea, vomiting, and skin irritations. Id.

46. “While there are slight differences among the alternatives regarding the potential risk for a

   future incident, implementation of any of the alternatives would have an indirect, beneficial

   impact on public health and safety since they would all in some manner further reduce the

   potential for oil or hazardous material releases.” AR at 0176.

47. On August 5, 2014, intervenor-plaintiffs in United States v. Massachusetts, including AWO,

   moved this Court to restore United States v. Massachusetts to the active docket and proceed

   to a disposition on the merits. Civ. A. No. 05-10112-DPW, Dkt. No. 190, Motion to Restore



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   Administratively Closed Case (Aug. 5, 2014). The plaintiffs in AWO v. Patrick, including

   AWO, filed a similar motion in that case. Civ. A. No. 10-10584-DPW, Dkt. No. 53, Motion

   to Restore Administratively Closed Case (Aug. 5, 2014).

48. Intervenor-plaintiffs moved to reopen and restore to active status in reliance on the United

   States’ representation that the Coast Guard’s issuance of the FONSI represented the

   Agency’s completion of activities necessary to satisfy the requirements of the First Circuit’s

   remand. Id. at ¶¶ 11-13.

49. On August 6, 2014, the United States moved to reopen United States v. Massachusetts,

   stating that the Coast Guard’s issuance of the FONSI, represented the Agency’s completion

   of the First Circuit’s directive to study the environmental impact of regulatory preemption of

   certain provisions of Massachusetts law purporting to govern oil tanker traffic in Buzzards

   Bay. Civ. A. No. 05-10112-DPW, Dkt. No. 191, Motion to Restore Case to the Active

   Docket (Aug. 6, 2014).

50. The Commonwealth opposed the motions. On January 15, 2015, this Court held a hearing on

   the motions. United States v. Massachusetts, Civ. A. No. 05-10112-DPW at Dkt No. 200-01,

   Motion Hearing (Jan. 15, 2015).

51. At the hearing, the United States represented to the District Court that the Coast Guard had

   completed its activities on remand. “Your Honor, our view is, certainly, that this matter is

   ripe for further adjudication now …” Id. at Dkt. No. 201, Transcript of Motion Hearing at

   4:15-16. When pressed by Judge Woodlock, however, the Agency agreed to clarify its

   position as to whether further proceedings on remand were necessary for United States v.

   Massachusetts to be resolved on the merits. Id. at Dkt. No. 201, Transcript of Motion




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   Hearing at 4:6-16, 6:9-7:14, 13:22-25 (“the United States is free to … do whatever it feels

   like doing, but there are consequences.”).

52. At the hearing, Judge Woodlock stated “I think I have made clear to the plaintiff here what

   the potential consequences are … after 10 years of trying, if the United States has not gotten

   it right now, that the case should continue but should be rendered as a final judgment.”

   Motion Hearing Tr. 13:25, 16:1-9. He also stated that the parties appeared not to understand

   “the practical reality of what this litigation would mean and what the resurrection of this

   litigation at this time would mean . . . If the Government is prepared to say it has done

   everything that is consistent with the opinion of the First Circuit, then I suppose it can come

   back. I would think long and hard about it, if I were in the position of the United States.” Id.

   at 18:7-18. Following this exchange, the Coast Guard attorney, Steven Bressler, requested

   additional time to consider its answer. Id. at 19:21-21:11.

53. Three weeks later, on February 5, 2015, the Coast Guard received a letter from several

   Massachusetts Members of Congress, namely Senators Elizabeth Warren and Edward

   Markey and Representative William Keating. AR at 2055-56.

54. The Congressional letter states, “We were disappointed to learn that the U.S. Coast Guard is

   preparing to challenge a Commonwealth of Massachusetts law that aims to prevent oil spills

   in Massachusetts waters. . . . We urge the Coast Guard not to take legal action against the

   Commonwealth, but instead to continue to take steps to revisit its rulemaking proceeding on

   this matter.” Id. “After more than a decade of litigation … it is time for the federal

   government to focus its limited resources on matters that will protect Buzzards Bay instead

   of what promises to be further resource-intensive litigation. . . . We strongly urge the Coast




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   Guard to abandon its efforts to reopen litigation and to focus instead on advancing the

   rulemaking it has already initiated.” Id.

55. On February 5, 2015, the United States withdrew its motion to reopen United States v.

   Massachusetts to the Court’s active docket. The Coast Guard stated that it withdrew the

   motion to reopen to determine whether further regulatory action was required to comply with

   the First Circuit’s remand. Civ. A. No. 05-10112-DPW, Dkt No. 203, Notice of Withdrawal

   of the Motion to Reopen (Feb. 5, 2015).

56. The next day, on February 6, 2015, Massachusetts State Representative, Timothy Madden,

   sent another letter to the Coast Guard acknowledging the Agency’s withdrawal of its request

   to reopen the litigation and stating, “I would like to express my appreciation for the Coast

   Guard’s decision to withdraw the motion and would hope that the Coast Guard works with

   Massachusetts state officials if it decides to move forward with new rulemaking on this

   issue.” AR at 2057.

57. Twelve days later, intervenor-plaintiffs also withdrew their motion, pending further action on

   remand by the Coast Guard. Civ. A. No. 05-10112-DPW, Dkt No. 205, Notice of Withdrawal

   of Motion to Restore (Feb. 17, 2005).

58. The Administrative Record filed in the present case shows no activity in 2015 by the Coast

   Guard to address the remand orders. See Civ. A. 1:18-cv-12070-DJC, Dkt. No. 25, Att. 1,

   Administrative Record Index.

59. The Administrative Record for the year 2016 reflects activity that is confined to an email

   description of a meeting between Rear Adm. Steven Poulin, the Commander of the First

   Coast Guard District, with representatives of Plaintiff, stating, in part, “I told them [i.e.,

   AWO] I had no intent to look back at the 2007 RNA; from my perspective that litigation was



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   closed … it was our assessment along with DOJ that the district court on remand was

   generally displeased with the notion of reopening the case based on that EA.” AR at 2060. “I

   told them that I wanted to look forward, assess what our preemption rulemaking might look

   like and how it may inform how we proceed, and … I wanted to take stock of the area and

   requirements before I decided on any new RNA for Buzzards Bay … I also mentioned that

   the RNA and federal preemption issues are politically sensitive so we need to be very

   deliberate and thoughtful in how we move forward, especially with a new Administration

   taking over in a few months.” Id.; AR at 2060.

60. On March 23, 2017, Coast Guard attorney Brian Judge summarized a meeting with

   Plaintiffs’ counsel Jonathan Benner stating, “the First District had tried to negotiate with

   [Massachusetts] in the 2012/2013/2014 time frame to get a mutually acceptable regulatory

   regime, but it was difficult because MA is happy with the status quo … Jon[athan Benner]

   did raise the question of whether the Coast Guard could bring more resources to bear on this;

   I just said I have no control over that … [DOJ Attorney] Ken Sealls told Jon that we would

   get back to him, but we could not give a specific time frame … Ken does not see any reason

   to change our position with regard to the litigation.” Id.

61. In June 2017, more than twenty-eight months after withdrawing its motion to reopen, the

   Coast Guard informed AWO that the Agency was not preparing additional NEPA

   compliance measures in response to the remand order. AR at 2063.

62. Later in June 2017, the Coast Guard indicated to AWO that it was considering various

   courses of action, some of which would affect Buzzards Bay. AR at 2065.

63. In an email dated June 7, 2017, Rear Adm. Steven Andersen summarized a meeting with

   AWO Chief Operating Officer Jennifer Carpenter. Id.



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64. In that email, Rear Adm. Andersen stated, “despite our continuing opinion that MOSPA

   violates preemption principles, the CG (w/DOJ advice) does not intend to reopen the current

   litigation because the record in that case is not strong. . . . [T]he CG is actively considering

   other options for Buzzard’s [sic] Bay including when to initiate a new RNA, the

   environmental analysis that would accompany a new rulemaking, and the application of the

   administration’s regulatory reform principles. . . . I posited that there is no quick solution to

   removing the application of MOSPA.” Id.

65. On July 26, 2017, Coast Guard attorney Brian Judge wrote an email summarizing a meeting

   with personnel from AWO. “I further stated that the Coast Guard was considering the best

   path forward with regard to MOSPA and the Buzzards Bay RNA, but … no decision had

   been made yet. Jennifer Carpenter said the last time that she had spoken with you [Rear

   Adm. Steven Andersen], you told her the decision would be made sometime this summer …”

   AR at 2067.

66. On September 11, 2017, Coast Guard Admiral Charles Michel wrote an email to AWO

   President & Chief Operating Officer, Tom Allegretti stating “we definitely want to move this

   process forward now and we definitely want to do it in full partnership with AWO …

   [W]hile neither a PAWSA [Port and Waterways Safety Assessment] nor a new RNA is

   required to reopen the existing litigation, we believe that it is in our collective best interests

   to conduct the PAWSA first … Although reasonable minds can differ on the best approach to

   achieve this outcome as it relates to MOSPA, we are fully aligned on the outcome – to enjoin

   the enforcement of state law provisions that are preempted by federal law.” AR at 2076.

67. Approximately a month later, Mr. Allegretti responded, informing the Admiral about AWOs

   intention to bring the present litigation. “[D]espite the plan to undertake a [PAWSA] for



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   Buzzards Bay, the Coast Guard has not committed to a clear path to return to court to bring

   this long-running litigation [i.e., U.S. v. Massachusetts and AWO v. Patrick] to a successful

   conclusion.” AR at 2075.

68. Approximately two months after Mr. Allegretti’s letter and almost three years after

   withdrawing its motion to reopen the litigation, on Dec. 7, 2017, the Agency published a

   news release stating it would conduct a Ports and Waterways Safety Assessment (“PAWSA”)

   for Buzzards Bay. AR at 1736. The Coast Guard published the PAWSA Report for Buzzards

   Bay in February 2018. See AR at 1835-1905.

69. The PAWSA process is a stakeholder participation risk assessment device that relies on

   workshops and public fora to identify risk factors and potential mitigation measures for

   various waterways throughout the United States. See AR at 1736, 1754-1790.

70. On November 30, 2017, Rear Adm. Andersen wrote, in an internal email, “I tried to convince

   AWO that a new RNA is related to preemption and that it is more efficient for the CG to

   pursue potential RNA at this time, rather than pursue old litigation and wait to update RNA.”

   AR at 2079.

71. An internal Coast Guard Whitepaper dated May 8, 2018 stated that “The litigation has been

   inactive since 2015.” AR at 2040. The document concludes that “C[ourse] O[f] A[ction] #1 is

   the recommended plan for the short term” and that “COA #6 is the recommended path

   forward.” Id. at 2041. Neither course of action is legible because of the Agency’s redactions.

   See id.

72. In a letter following the PAWSA workshop, AWO Senior Manager Brian Vahey noted that,

   during the PAWSA workshop, petroleum shipping industry participants were “expressly

   prohibited … from even speaking during the workshop. . . . As such, there was no certainty



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   that observer feedback will be incorporated into the PAWSA’s risk and mitigation

   calculations or will in any way inform the recommendations that come out of the final

   report.” AR at 2042-43.

73. On December 20, 2018, Representative Bennie G. Thompson, Ranking Member of the

   Committee on Homeland Security, sent a letter to the Coast Guard to “express my serious

   concern that the Coast Guard has failed to take action directed by a federal court, and in so

   doing, has allowed to stand unconstitutional states laws that undermine the safety, security

   and efficiency of critical maritime commerce.” AR at 2080. The letter continued, “It is the

   Coast Guard’s duty … to obey court orders for corrective action when it has not met those

   administrative requirements.” Id. This obligation, he stated, “is undercut by the fact that the

   U.S. Coast Guard has for seven years failed to obey the law and the decision of the courts …

   I request a response as soon as possible that outlines your specific plan for the Coast Guard

   to comply with the Court’s directive.” Id. at 2081.

74. In response to that letter, on March 7, 2019, Lt. Commander Taylor Kellogg wrote, “Since

   the Court of Appeals ruling, the Coast Guard and the Commonwealth of Massachusetts

   jointly undertook a 2012 risk assessment study of Buzzards Bay. However, the

   Commonwealth disagreed with the methodology and results of the study. The

   Commonwealth did not implement its findings … The Coast Guard will use the PAWSA and

   all other relevant information to determine the best interests of all waterway users.” AR at

   2082.

75. The Coast Guard’s response letter did not contain a schedule or any definitive plan to

   complete its compliance with the First Circuit’s order. See id.




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76. In the Joint Status Report in the present case, filed with this Court on February 8, 2019, the

   Agency stated that the “Coast Guard is under no court order to complete a rulemaking or an

   analysis under the National Environmental Policy Act (“NEPA”) by a date certain . . . there

   is no current controversy between the Coast Guard and Massachusetts. The Coast Guard

   intends to complete a new rulemaking for Buzzards Bay . . . The Coast Guard, however, has

   no legal obligation to complete that process by a date certain.” Dkt. No. 19, Joint Statement

   re Scheduling Conference, at 1-2.




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                                CERTIFICATE OF SERVICE

       I hereby certify that on April 26, 2019, I electronically filed the foregoing with the United

States District Court for the District of Massachusetts using the Court’s CM/ECF system. The

parties in this case are registered CM/ECF users, and service will be accomplished by the

CM/ECF system.

                                             Respectfully Submitted,

                                             /s/ Christine R. Couvillon
                                                     On behalf of:
                                             C. Jonathan Benner (pro hac vice)
                                             THOMPSON COBURN LLP
                                             1909 K Street, N.W., Suite 600
                                             Washington, D.C. 20006
                                             202-585-6900
                                             jbenner@thompsoncoburn.com




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